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            EXHIBIT E
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                 Infringement of U.S. Patent No. 10,952,203 by ASUS’s Representative Zenbook Pro (UX6404)

                   Claim Language                                     Representative ASUS Zenbook Pro


    1(p)   A method at a device, the method   To the extent that the preamble of claim 1 is limiting, the Accused Products practice a
           comprising:                        method, including a method compromising the steps shown below and for claim
                                              elements 1(a)-1(d). For example:
                                              The ASUS Zenbook Pro is a device, and in particular, is a laptop device.




                                              https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/.
                                              The ASUS Zenbook Pro supports Wi-FiTM 6E (IEEE 802.11ax).1




1
 The representative ASUS Zenbook Pro implements Wi-Fi 6E, but the evidence cited herein also applies to products implementing
only Wi-Fi 6 because the specifications for Wi-Fi 6 include the same evidence cited herein for Wi-Fi 6E. The Accused Products
implementing only Wi-Fi 6 thus infringe for the same reasons as provided herein.

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Claim Language                               Representative ASUS Zenbook Pro




                      https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                      ux6404/techspec/.
                      The ASUS Zenbook Pro includes an Intel AX211 Wi-Fi card.




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Claim Language                               Representative ASUS Zenbook Pro




                      The Intel AX211 supports Wi-Fi 6E. See
                      https://www.intel.com/content/www/us/en/products/docs/wireless/wi-fi-6e-ax211-


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                Claim Language                                        Representative ASUS Zenbook Pro
                                              module-brief.html and
                                              https://www.intel.com/content/www/us/en/products/sku/204837/intel-wifi-6e-ax211-
                                              gig/specifications.html.
                                              The ASUS Zenbook Pro performs methods supported by Wi-Fi 6E, including the
                                              method steps shown below. See infra claim elements 1(a)-1(d).

1(a)   receiving, at the device, a resource   The Accused Products perform the method step of “receiving, at the device, a
       assignment indication, where the       resource assignment indication, where the resource assignment indication indicates a
       resource assignment indication         set of resource blocks for a data transmission.” For example:
       indicates a set of resource blocks     The ASUS Zenbook Pro, in accordance with Wi-Fi 6E, receives and transmits
       for a data transmission;               medium access control (MAC) frames.




                                              See IEEE 802.11-2020 at p. 754.
                                              There are different types of MAC frames, including a control frame type.




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Claim Language                            Representative ASUS Zenbook Pro




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Claim Language                                Representative ASUS Zenbook Pro




                      See IEEE 802.11-2020 at pp. 795-796.
                      Within MAC control frames, there is trigger frame sub-type. Trigger frames include
                      resource assignments indicating sets of resource blocks for data transmission:




                      See 802.11ax-2021 at p. 107 (stating in part that “[a] Trigger frame allocates resources
                      for and solicits one or more HE TB PPDU transmissions”).


                                      Page 6 of 67
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Claim Language                                Representative ASUS Zenbook Pro




                      See 802.11ax-2021 at p. 108.
                      As shown above, a trigger frame includes a “User Info List” field. The format of the
                      “User Info” field is as follows:




                      See 802.11ax-2021 at p. 112.
                      “User Info” field(s) contained in a “User Info List” include sets of resource blocks.




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Claim Language                               Representative ASUS Zenbook Pro




                      See 802.11ax-2021 at p. 109.




                      See 802.11ax-2021 at p. 112.




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                See 802.11ax-2021 at p. 113.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 113.




                     See 802.11ax-2021 at p. 114.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 117.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 502.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 502.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 503.




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Claim Language                           Representative ASUS Zenbook Pro




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Claim Language                              Representative ASUS Zenbook Pro
                     See 802.11ax-2021 at p. 564.




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                Claim Language                                          Representative ASUS Zenbook Pro
                                               See 802.11ax-2021 at p. 565.




                                               See 802.11ax-2021 at p. 566.

1(b)   determining, based on the resource      The Accused Products perform the method step of “determining, based on the
       assignment indication, whether the      resource assignment indication, whether the set of resource blocks includes both a
       set of resource blocks includes         first set of resource blocks of a first resource assignment and a second set of resource
       both a first set of resource blocks     blocks of a second resource assignment or the set of resource blocks includes only the
       of a first resource assignment and      first set of resource blocks of the first resource assignment.” For example:
       a second set of resource blocks of      Trigger frames include resource assignments indicating sets of resource blocks for
       a second resource assignment or         data transmission:
       the set of resource blocks includes
       only the first set of resource blocks
       of the first resource assignment;




                                               See 802.11ax-2021 at p. 107 (stating in part that “[a] Trigger frame allocates resources
                                               for and solicits one or more HE TB PPDU transmissions”).




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Claim Language                                Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 108.
                     As shown above, a trigger frame includes a “User Info List” field. The format of the
                     “User Info” field is as follows:




                     See 802.11ax-2021 at p. 112.
                     A trigger frame (which includes, for example, subfields AID12 and RU Allocation
                     located within its “User Info” field(s)) demonstrate “determining, based on the
                     resource assignment indication, whether the set of resource blocks includes both a
                     first set of resource blocks of a first resource assignment and a second set of resource
                     blocks of a second resource assignment or the set of resource blocks includes only the
                     first set of resource blocks of the first resource assignment.”



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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 112.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 114.




                     See 802.11ax-2021 at pp. 114-115.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 347.




                     See 802.11ax-2021 at p. 109.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 112.




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                See 802.11ax-2021 at p. 113.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 113.




                     See 802.11ax-2021 at p. 114.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 117.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 502.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 502.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 503.




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Claim Language                           Representative ASUS Zenbook Pro




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Claim Language                              Representative ASUS Zenbook Pro
                     See 802.11ax-2021 at p. 564.




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               Claim Language                                         Representative ASUS Zenbook Pro
                                             See 802.11ax-2021 at p. 565.




                                             See 802.11ax-2021 at p. 566.

1(c)   transmitting, based on the set of     The Accused Products perform the method step of “transmitting, based on the set of
       resource blocks including only the    resource blocks including only the first set of resource blocks, the data transmission in
       first set of resource blocks, the     only the first set of resource blocks.” For example:
       data transmission in only the first   As shown above, the ASUS Zenbook Pro, in accordance with Wi-Fi 6E, receives a
       set of resource blocks; and           trigger frame. Further, in accordance with Wi-Fi 6E, the ASUS Zenbook Pro
                                             transmits in response to a trigger frame, including “transmitting, based on the set of
                                             resource blocks including only the first set of resource blocks, the data transmission in
                                             only the first set of resource blocks.”




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Claim Language                              Representative ASUS Zenbook Pro
                     See 802.11ax-2021 at p. 311.




                     See 802.11ax-2021 at p. 341.




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Claim Language                           Representative ASUS Zenbook Pro




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Claim Language                              Representative ASUS Zenbook Pro
                     See 802.11ax-2021 at p. 349.




                     See 802.11ax-2021 at p. 359.




                     See 802.11ax-2021 at p. 360.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 361.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 109.




                     See 802.11ax-2021 at p. 112.




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                See 802.11ax-2021 at p. 113.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 113.




                     See 802.11ax-2021 at p. 114.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 117.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 502.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 502.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 503.




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Claim Language                           Representative ASUS Zenbook Pro




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Claim Language                              Representative ASUS Zenbook Pro
                     See 802.11ax-2021 at p. 564.




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                Claim Language                                         Representative ASUS Zenbook Pro
                                              See 802.11ax-2021 at p. 565.




                                              See 802.11ax-2021 at p. 566.

1(d)   transmitting, based on the set of      The Accused Products perform the method step of “transmitting, based on the set of
       resource blocks including both the     resource blocks including both the first set of resource blocks and the second set of
       first set of resource blocks and the   resource blocks, the data transmission in at least one selected from the first set of
       second set of resource blocks, the     resource blocks and the second set of resource blocks.” For example:
       data transmission in at least one      As shown above, the ASUS Zenbook Pro, in accordance with Wi-Fi 6E, receives a
       selected from the first set of         trigger frame. Further, in accordance with Wi-Fi 6E, the ASUS Zenbook Pro
       resource blocks and the second set     transmits in response to a trigger frame, including “transmitting, based on the set of
       of resource blocks.                    resource blocks including both the first set of resource blocks and the second set of
                                              resource blocks, the data transmission in at least one selected from the first set of
                                              resource blocks and the second set of resource blocks.”




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 311.




                     See 802.11ax-2021 at p. 341.




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Claim Language                           Representative ASUS Zenbook Pro




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Claim Language                              Representative ASUS Zenbook Pro
                     See 802.11ax-2021 at p. 349.




                     See 802.11ax-2021 at p. 359.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 360.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 361.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 109.




                     See 802.11ax-2021 at p. 112.




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                See 802.11ax-2021 at p. 113.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 113.




                     See 802.11ax-2021 at p. 114.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 117.


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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 502.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 502.




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Claim Language                              Representative ASUS Zenbook Pro




                     See 802.11ax-2021 at p. 503.




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Claim Language                           Representative ASUS Zenbook Pro




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Claim Language                              Representative ASUS Zenbook Pro
                     See 802.11ax-2021 at p. 564.




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               Claim Language                                 Representative ASUS Zenbook Pro
                                      See 802.11ax-2021 at p. 565.




                                      See 802.11ax-2021 at p. 566.



9(p)   An apparatus comprising:       To the extent that the preamble of claim 9 is limiting, the Accused Products are each
                                      an apparatus. For example:
                                      The ASUS Zenbook Pro is an apparatus because it is a laptop.




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               Claim Language                                    Representative ASUS Zenbook Pro




                                         https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-ux6404/.
                                         See supra claim element 1(p).

9(a)   a transceiver that receives a     The Accused Products comprise “a transceiver that receives a resource assignment
       resource assignment indication,   indication, where the resource assignment indication indicates a set of resource blocks
       where the resource assignment     for a data transmission.” For example:
       indication indicates a set of     The ASUS Zenbook Pro includes an Intel AX211 Wi-Fi card.
       resource blocks for a data
       transmission; and




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Claim Language                              Representative ASUS Zenbook Pro




                     The Intel AX211 supports Wi-Fi 6E. See
                     https://www.intel.com/content/www/us/en/products/docs/wireless/wi-fi-6e-ax211-


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                Claim Language                                          Representative ASUS Zenbook Pro
                                               module-brief.html and
                                               https://www.intel.com/content/www/us/en/products/sku/204837/intel-wifi-6e-ax211-
                                               gig/specifications.html.
                                               The Intel AX211 includes a transceiver because it transmits and receives data and
                                               information over Wi-Fi networks, including Wi-Fi 6E.
                                               See supra claim element 1(a).

9(b)   a controller coupled to the             The Accused Products comprise “a controller coupled to the transceiver, where the
       transceiver, where the controller       controller determines, based on the resource assignment indication, whether the set of
       determines, based on the resource       resource blocks includes both a first set of resource blocks of a first resource
       assignment indication, whether the      assignment and a second set of resource blocks of a second resource assignment or the
       set of resource blocks includes         set of resource blocks includes only the first set of resource blocks of the first resource
       both a first set of resource blocks     assignment.” For example:
       of a first resource assignment and      The ASUS Zenbook Pro includes an Intel AX211 Wi-Fi card.
       a second set of resource blocks of
       a second resource assignment or
       the set of resource blocks includes
       only the first set of resource blocks
       of the first resource assignment,




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Claim Language                              Representative ASUS Zenbook Pro




                     The Intel AX211 supports Wi-Fi 6E. See
                     https://www.intel.com/content/www/us/en/products/docs/wireless/wi-fi-6e-ax211-


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                 Claim Language                                          Representative ASUS Zenbook Pro
                                                module-brief.html and
                                                https://www.intel.com/content/www/us/en/products/sku/204837/intel-wifi-6e-ax211-
                                                gig/specifications.html.
                                                The Intel AX211includes a controller coupled to the transceiver because the Intel
                                                AX211 processes the information and data received/transmitted via the transceiver,
                                                and therefore, has a controller coupled to the transceiver for such processing.
                                                See supra claim element 1(b).

9(c)    wherein the transceiver transmits,      The Accused Products comprises a transceiver that “transmits, based on the set of
        based on the set of resource blocks     resource blocks including only the first set of resource blocks, the data transmission in
        including only the first set of         only the first set of resource blocks.” For example:
        resource blocks, the data               See supra claim elements (9a) and 1(c).
        transmission in only the first set of
        resource blocks, and

9(d)    transmits, based on the set of          The Accused Products comprises a transceiver that “transmits, based on the set of
        resource blocks including both the      resource blocks including both the first set of resource blocks and the second set of
        first set of resource blocks and the    resource blocks, the data transmission in at least one selected from the first set of
        second set of resource blocks, the      resource blocks and the second set of resource blocks.”
        data transmission in at least one       See supra claim elements 9(a) and 1(d).
        selected from the first set of
        resource blocks and the second set
        of resource blocks.




17(p)   A method at a device, the method        To the extent that the preamble of claim 17 is limiting, the Accused Products practice
        comprising:                             a method, including a method compromising the steps shown below and for claim
                                                elements 17(a)-17(d). For example:


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                 Claim Language                                         Representative ASUS Zenbook Pro
                                                See supra claim element 1(p).


17(a)   receiving, at the device, a resource The Accused Products perform the method step of “receiving, at the device, a
        assignment indication, where the     resource assignment indication, where the resource assignment indication indicates a
        resource assignment indication       set of assigned resource blocks for a data transmission.” For example:
        indicates a set of assigned resource
        blocks for a data transmission;
                                             See supra claim element 1(a).

17(b)   determining whether the resource        The Accused Products perform the method step of “determining whether the resource
        assignment indication indicates         assignment indication indicates both a first resource assignment of a first set of
        both a first resource assignment of     resource blocks of the set of assigned resource blocks and a second resource
        a first set of resource blocks of the   assignment of a second set of resource blocks of the set of assigned resource blocks or
        set of assigned resource blocks and     the resource assignment indication indicates only the first resource assignment of the
        a second resource assignment of a       first set of resource blocks of the set of assigned resource blocks.” For example:
        second set of resource blocks of
        the set of assigned resource blocks
        or the resource assignment              See supra claim element 1(b).
        indication indicates only the first
        resource assignment of the first set
        of resource blocks of the set of
        assigned resource blocks;

17(c)   transmitting, based on the resource     The Accused Products perform the method step of “transmitting, based on the
        assignment indication indicating        resource assignment indication indicating only the first resource assignment of the
        only the first resource assignment      first set of resource blocks of the set of assigned resource blocks, the data
        of the first set of resource blocks     transmission in only the first set of resource blocks.” For example:
        of the set of assigned resource
        blocks, the data transmission in
                                                See supra claim element 1(c).


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                 Claim Language                                        Representative ASUS Zenbook Pro
        only the first set of resource
        blocks; and

17(d)   transmitting, based on the resource   The Accused Products perform the method step of “transmitting, based on the
        assignment indication indicating      resource assignment indication indicating both the first resource assignment of the
        both the first resource assignment    first set of resource blocks of the set of assigned resource blocks and the second
        of the first set of resource blocks   resource assignment of the second set of resource blocks of the set of assigned
        of the set of assigned resource       resource blocks, the data transmission in at least one selected from the first set of
        blocks and the second resource        resource blocks and the second set of resource blocks.” For example:
        assignment of the second set of
        resource blocks of the set of
        assigned resource blocks, the data    See supra claim element 1(d).
        transmission in at least one
        selected from the first set of
        resource blocks and the second set
        of resource blocks.




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